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               IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DONALD J. TRUMP FOR                                  No. 4:20-CV-02078
PRESIDENT, INC., et al.,
                                                     (Judge Brann)
             Plaintiffs,

        v.

KATHY BOOCKVAR, in her capacity
as Secretary of the Commonwealth of
Pennsylvania, et al.,

             Defendants.

                                      ORDER

        AND NOW, this 10th day of November 2020, IT IS HEREBY ORDERED

that:

        1.    The Court will hold a telephonic status conference on November 10,

             2020 at 3:00 p.m.

        2.   Counsel for Plaintiffs shall initiate the call to Chambers at 570-323-

             9772. At the time the call is placed, all counsel shall be on the line

             and prepared to proceed.

        3.   The Court’s preference is that counsel do not participate in telephonic

             conference calls by cellular phone or other mobile device; however, in

             light of current circumstances necessitated by the COVID-19 virus

             pandemic afflicting our nation, which compel counsel to work outside
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    of their offices, I will permit such telephonic conference calls to be

    made by cellular phone if that is the only means of telephonic

    communication for counsel.

                                            BY THE COURT:

                                            s/ Matthew W. Brann
                                            Matthew W. Brann
                                            United States District Judge
